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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ARDAGH METAL PACKAGING USA
CORP.,
                                                     Case No. 1:22-cv-07367 (JCD) (JA)
                     Plaintiff,

           v.

AMERICAN CRAFT BREWERY LLC,

                     Defendant.



DEFENDANT’S MOTION FOR LEAVE TO SUPPLEMENT THE RECORD WITH NEW
EVIDENCE IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL (DKT. 242) AND
  MOTION TO SEAL DEFENDANT’S NOTICE OF SUPPLEMENTAL EVIDENCE

           Defendant American Craft Brewery LLC (“ACB”) respectfully moves the Court for leave

to supplement its pending Motion to Compel (Dkt. 242) with an excerpt of Plaintiff Ardagh Metal

Packaging USA Corp. (“Ardagh”)’s damages expert Andrew D. Richmond’s report, along with a

two-page memorandum explaining its relevance to the Motion to Compel (together, the Notice of

Supplemental Evidence).

           On December 10, 2024, ACB filed its Motion to Compel. (Dkt. 242). As part of that

Motion, ACB sought to compel Ardagh to produce (1) documents sufficient to show, by month

and facility, Ardagh’s actual manufacturing capacity, and Ardagh’s forecasted and/or planned use

of each of its manufacturing lines; and (2) its yearly earnings, operating, or profit and loss

statements for each of Ardagh’s plants. (See Dkt. 242, at 4-5, 11-12). Ardagh has taken the position

that no further responsive documents exist and that Ardagh does not track its finances by facility.

(Dkt. 249, at 4-6, 12-13). The Motion to Compel remains pending.

           Upon ACB’s review of Mr. Richmond’s report (served the evening of January 17, 2025),


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ACB identified several paragraphs and schedules that support Defendant’s position on its Motion

to Compel. (Dkt. 242, at 11-12). In other words, certain portions of Mr. Richmond’s expert report

show that Ardagh has the ability to track the costs of performance of its production facilities and

thus, it can obtain the historical factual information necessary to provide to ACB Ardagh’s profits

and losses by plant (contrary to Ardagh’s arguments in its opposition to the Motion to Compel).

ACB seeks to present these excerpts from Mr. Richmond’s expert report and a brief explanation

to the Court in the Notice of Supplemental Evidence. ACB has already prepared these materials.

           Where, as here, the evidence sought to be introduced is new and will assist the court in

evaluating the parties’ positions on the pending motion, courts generally allow supplementation.

See e.g., Thakkar v. Station Operators Inc., 697 F. Supp. 2d 908, 923 (N.D. Ill. 2010) (granting

plaintiffs’ motion to supplement the record to file an affidavit and to amend their Rule

56.1(b)(3)(C) statements of fact based on newly discovered evidence); PepsiCo, Inc. v. Redmond,

No. 94 C 6838, 1996 WL 3965, at *33 (N.D. Ill. Jan. 2, 1996) (granting defendants’ motion to

supplement the record based on newly discovered evidence); Treece v. City of Naperville, No. 94

C 5548, 1998 WL 381703, at *5 (N.D. Ill. June 30, 1998) (granting motion to supplement the

record of a summary judgment motion with newly discovered evidence). Identifying these portions

of Mr. Richmond’s report will aid the Court in deciding the Motion to Compel.

           ACB met and conferred with Ardagh’s counsel regarding the filing of this Motion for Leave

to Supplement and Notice of Supplemental Evidence on January 28, 2025. Ben Shook and Chris

Tomlinson appeared for Ardagh, and John Ruskusky and Kathleen Mallon appeared for ACB. The

parties were unable to resolve the issues raised in this Motion for Leave to Supplement.

           Relatedly, should the Court grant this Motion for Leave to Supplement, and allow filing of

the Notice of Supplemental Evidence, pursuant to Fed. R. Civ. P. 5.2(d) and Local Rule 26.2,



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Defendant seeks leave to file a redacted version of the Notice to remove references to documents

or information that has been marked confidential or highly confidential related to Ardagh’s

business, and to file an unredacted version of the Notice under seal. ACB also seeks leave to file

the excerpt of Dr. Richmond’s expert report under seal. Good cause for sealing exists for these

documents because the proposed redactions and sealings are limited to commercially sensitive

information relating to Ardagh’s finances and capital investments. Ardagh has consented to sealing

of this information, should this Court grant this Motion.

           WHEREFORE, for the foregoing reasons, ACB requests that the Court (1) grant ACB

leave to file the Notice of Supplemental Evidence, (2) grant ACB leave to file a redacted version

of the Notice of Supplemental Evidence, and to file the excerpt of Dr. Richmond’s expert report

under seal, and (3) for any further or additional relief the Court deems appropriate.


Dated: January 29, 2025                                      Respectfully submitted,

                                                             /s/ John T. Ruskusky
                                                             One of the Attorneys for American
                                                             Craft Brewery LLC


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                                   CERTIFICATE OF SERVICE


           On January 29, 2025, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Illinois, using the electronic case filing

system of the court. I hereby certify that I have served all counsel of record electronically.




                                                                   /s/ John T. Ruskusky
                                                                   John T. Ruskusky




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